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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                       )
                                                )
                        Plaintiff,              )
                                                )
v.                                              )       CIV-06:20-CV-00140-RAW
                                                )
                                                )
XEPHYR LLC d/b/a N-ERGETICS,                    )
a corporation, and DERRILL JINKS                )
FUSSELL a/k/a DERILL J. FUSSELL                 )
a/k/a BRAD BRAND and LINDA SUE                  )
FUSSELL a/k/a LINDA FUSSELL,                    )
individuals,                                    )
                                                )
                        Defendants.             )

                           ORDER OF PERMANENT INJUNCTION

        Plaintiff United States of America, having filed a Complaint for Preliminary and

Permanent Injunction against Defendants Xephyr LLC doing business as N-Ergetics, and, as the

caption was amended on August 11, 2020, Defendants Derrill Jinks Fussell a/k/a Derill J. Fussell

a/k/a Brad Brand, and Linda Sue Fussell a/k/a Linda Fussell, and a motion for default judgment

under Federal Rule of Civil Procedure (“Rule”) 55(b)(2) as to Defendants; and no argument,

evidence, or opposition having been submitted thereto; and it appearing that Defendants violated

the Federal Food, Drug, and Cosmetic Act (the “Act”), 21 U.S.C. § 301 et seq., and, unless

restrained by order of this Court, will continue to violate the Act; it is

        ORDERED, ADJUDGED, AND DECREED that:

        1.      The United States’ motion for default judgment is GRANTED.

        2.      DEFAULT JUDGMENT IS ENTERED against Defendants.
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          3.   This Court has jurisdiction over the subject matter and all the parties to this

action.

          4.   The Complaint states a cause of action against Defendants under the Act, 21

U.S.C. §§ 301 et seq.

          5.   Defendants violate 21 U.S.C. § 331(d) by introducing or delivering for

introduction into interstate commerce new drugs (as defined by 21 U.S.C. § 321(p)) that are

neither approved pursuant to 21 U.S.C. § 355(a) nor exempt.

          6.   Defendants violate 21 U.S.C. § 331(a) by introducing or delivering for

introduction into interstate commerce articles of drug (as defined by 21 U.S.C. § 321(g)(1)) that

are misbranded within the meaning of 21 U.S.C. § 352(f)(1) because their labeling fails to bear

adequate directions for use.

          7.   Defendants violate 21 U.S.C. § 331(k) by causing articles of drug to become

misbranded within the meaning of 21 U.S.C. § 352(f)(1) while such articles are held for sale

after shipment of one or more of their components in interstate commerce.

          8.   Upon entry of this Order, Defendants and each and all of their directors, officers,

agents, representatives, employees, attorneys, successors and assigns, and any and all persons or

entities in active concert or participation with any of them, who have received actual notice of

this Order by personal service or otherwise, are permanently restrained and enjoined under 21

U.S.C. § 332(a), and the inherent equitable authority of this Court, from directly or indirectly

receiving, manufacturing, preparing, packing, labeling, holding, or distributing any articles of

drug, at or from 303 W. 12th Street, Atoka, Oklahoma, 74525 and 339 W. 12th Street, Atoka,

Oklahoma, 74525, or at or from any other location(s) at which Defendants now or in the future




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directly or indirectly receive, manufacture, prepare, pack, label, hold, or distribute articles of

drug (hereafter, the “Facility”), unless and until:

               A.      For all of Defendants’ drugs, Defendants have an approved new drug

application (“NDA”) or an abbreviated new drug application (“ANDA”), pursuant to 21 U.S.C.

§ 355(b), (j), or an investigational new drug application (“IND”) in effect pursuant to 21 U.S.C.

§ 355(i), for such drugs;

               B.      Within six (6) business days after the entry of this Order, Defendants

submit to FDA for its review and approval a recall plan for their colloidal silver products that

were distributed to consumers from January 22, 2020, through and including the date of entry of

this Order. The recall plan shall be submitted to FDA’s Office of Regulatory Affairs / Office of

Pharmaceutical Quality Operations Pharm II Recall Coordinator at

orapharm2recalls@fda.hhs.gov and shall include, but not be limited to, customer notifications,

public warning, methods for conducting effectiveness checks, and plans for the disposition of

recalled products. Defendants shall promptly implement any changes that FDA directs in such

plan. Within six (6) business days after receiving FDA’s approval of the recall plan, Defendants

shall initiate a recall of their colloidal silver products in accordance with the approved recall

plan. Within twenty-two (22) business days after initiating the recall, Defendants shall complete

the recall. Defendants shall bear the costs of the recall. Defendants shall destroy the recalled

products and all their colloidal silver products, including components and raw and in-process

materials and finished product, in Defendants’ possession, custody, or control in accordance with

the procedures provided in Paragraph 9;

               C.      As FDA determines it to be necessary, FDA representatives inspect

Defendants’ Facility, including buildings, equipment, products, labeling, and all relevant records




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contained therein; and/or Defendants’ product labels; labeling; promotional material; information

sheets accompanying purchased product; websites and social media pages owned, created by,

controlled by, or related to Defendants including, but not limited to, www.n-ergetics.com and

www.essentialoilsessentialoils.com; and any other media over which Defendants have control, to

determine whether the requirements of this Order have been met and whether Defendants are

operating in conformity with this Order, the Act, and its implementing regulations;

               D.      Defendants have reimbursed FDA for the costs of all FDA inspections,

investigations, supervision, analyses, examinations, and reviews that FDA deems necessary to

evaluate Defendants’ compliance with Paragraph 8, at the rates set forth in Paragraph 16; and

               E.      FDA notifies Defendants in writing that they appear to be in compliance

with the requirements set forth in Paragraph 8.A-B and 8.D of this Order. In no circumstance

shall FDA’s silence be construed as a substitute for written notification.

       9.      Within fifteen (15) business days after completing the recall of Defendants’

colloidal silver products as described in Paragraph 8.B, Defendants shall give notice to FDA that,

under FDA’s supervision (which may be done by email or other means as FDA determines to be

appropriate), Defendants are prepared to destroy all their colloidal silver products, including

components and raw and in-process materials and finished product, in Defendants’ possession,

custody, or control. Defendants’ notice shall specify the proposed time, place, and method of

destruction (“Destruction Plan”). Defendants shall not commence or permit any other person to

commence destruction until they have received written authorization from FDA to commence the

destruction. Within fifteen (15) business days after receiving written authorization from FDA to

commence destruction, Defendants shall, under FDA’s supervision (which may be done by email

or other means as FDA determines to be appropriate), complete the destruction in compliance




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with the FDA-authorized Destruction Plan. Defendants shall not dispose of any of their colloidal

silver products (including components and raw and in-process materials and finished product) in

a manner contrary to the provisions of the Act, any other federal law, or the laws or any State or

Territory, as defined in the Act, in which the colloidal silver products are disposed. Defendants

shall bear the costs of destruction and FDA’s supervision thereof at the rates set forth in

Paragraph 16.

       10.        Upon entry of this Order, Defendants, and all of their directors, officers, agents,

representatives, employees, attorneys, successors and assigns, and any and all persons or entities

in active concert or participation with any of them, are permanently restrained and enjoined

under 21 U.S.C. § 332(a) from directly or indirectly doing or causing to be done any of the

following acts:

                  A.     Violating 21 U.S.C. § 331(d) by introducing or delivering for introduction,

or causing to be introduced or delivered for introduction, into interstate commerce new drugs (as

defined by 21 U.S.C. § 321(p)) that are neither approved pursuant to 21 U.S.C. § 355(a) nor

exempt from approval;

                  B.     Violating 21 U.S.C. § 331(a) by introducing or delivering for introduction,

or causing to be introduced or delivered for introduction, into interstate commerce articles of

drug (as defined by 21 U.S.C. § 321(g)(1)) that are misbranded within the meaning of 21 U.S.C.

§ 352(f)(1) because their labeling fails to bear adequate directions for use;

                  C.     Violating 21 U.S.C. § 331(k) by causing articles of drug to become

misbranded within the meaning of 21 U.S.C. § 352(f)(1) while such articles are held for sale

after shipment of one or more of their components in interstate commerce; and




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               D.      Failing to implement and continuously maintain the requirements of this

Order, the Act, and its implementing regulations.

       11.     After complying with the requirements of Paragraph 8.A-B and 8.D and receiving

the notification from FDA pursuant to Paragraph 8.E, Defendants shall retain, at their expense,

an independent person or persons (the “Auditor”) who is qualified by education, training, and

experience to determine whether Defendants’ labels, labeling, promotional material, and

websites cause Defendants’ products, including but not limited to colloidal silver, to be

unapproved new drugs and misbranded drugs; whether Defendants are directly or indirectly

responsible for receiving, manufacturing, preparing, packing, labeling, holding, or distributing

unapproved new drugs and misbranded drugs, including but not limited to colloidal silver; and

whether Defendants directly or indirectly do any acts that cause drugs to become misbranded

while they are held for sale after shipment of one or more of their components in interstate

commerce. The Auditor shall be without personal or financial ties (other than a consulting

agreement between the parties) to any Defendant or any of Defendants’ employees or families.

Defendants shall notify FDA in writing of the identity of the Auditor within ten (10) business

days of retaining such Auditor. Thereafter:

               A.      Defendants shall ensure that the Auditor shall inspect Defendants’ product

labels; labeling; promotional material; information sheets accompanying purchased product;

websites and social media pages owned, created by, controlled by, or related to Defendants

including, but not limited to, www.n-ergetics.com and www.essentialoilsessentialoils.com; and

any other locations which Defendants now or in the future, directly or indirectly engage in

labeling, holding, and/or distributing drugs, no less frequently than once every six (6) months for

a period of no less than five (5) years (the “Audit Inspections”). The first Audit Inspection shall




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occur no more than six (6) months after Defendants’ receipt of FDA’s written notification

pursuant to Paragraph 8.E;

               B.        At the conclusion of each Audit Inspection, Defendants shall ensure that

the Auditor prepares a detailed written audit report (“Audit Report”) analyzing whether

Defendants are in compliance with this Order, the Act, and its implementing regulations, and

identifying any deviations from such requirements (“Audit Report Observations”) and shall

provide a list of all materials reviewed, including all websites and social media, as well as copies

of all such materials.

               C.        Defendants shall ensure that each Audit Report contains a written

certification that the Auditor has personally reviewed all of Defendants’ product labels; labeling;

promotional material; information sheets accompanying purchased product; websites and social

media pages owned, created by, controlled by, or related to Defendants including, but not limited

to, www.n-ergetics.com and www.essentialoilsessentialoils.com; and any other locations at

which Defendants, now or in the future, directly or indirectly engage in labeling, holding, and/or

distributing drugs, and personally certifies (1) whether they contain claims that cause any of

Defendants’ products, including but not limited to their colloidal silver products, to be drugs

within the meaning of the Act and, if so, whether those drugs are unapproved new drugs within

the meaning of the Act; (2) whether Defendants are directly or indirectly receiving,

manufacturing, preparing, packing, labeling, holding, or distributing colloidal silver products or

other products that are misbranded within the meaning of the Act; and (3) whether Defendants

are directly or indirectly doing any acts that cause drugs to become misbranded while they are

held for sale after shipment of one of their components in interstate commerce.




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               D.      Defendants shall ensure that the Audit Reports are delivered

contemporaneously to Defendants and FDA by courier service or overnight delivery service, no

later than ten (10) business days after the date the Audit Inspection is completed. Additionally,

Defendants shall maintain the Audit Reports in separate files at Defendants’ Facility and shall

promptly make the Audit Reports available to FDA upon request; and

               E.      If an Audit Report contains any Audit Report Observations indicating that

Defendants’ products are not in compliance with this Order, the Act, or its implementing

regulations, Defendants shall immediately cease such activity.

       12.     If, at any time after this Order has been entered, FDA determines, based on the

results of an inspection, a review of Defendants’ products, product labels, labeling, websites, or

social media pages owned or controlled by Defendants, a report prepared by Defendants’

Auditor, or any other information, that Defendants have failed to comply with any provision of

this Order, have violated the Act or its implementing regulations, or that additional corrective

actions are necessary to achieve compliance with this Order, the Act, or its implementing

regulations, FDA may, as and when it deems necessary, notify Defendants in writing of their

noncompliance and order Defendants to take appropriate corrective action, including, but not

limited to, ordering Defendants to immediately take one or more of the following actions:

               A.      Cease receiving, manufacturing, preparing, processing, packing, labeling,

holding, and/or distributing any or all drugs;

               B.      Recall, at Defendants’ expense, any drug that is an unapproved new drug,

misbranded, or otherwise in violation of this Order, the Act, or its implementing regulations;

               C.      Revise, modify, expand, or continue to submit any reports or plans

prepared pursuant to this Order;




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               D.      Submit additional reports or information to FDA as requested;

               E.      Issue a safety alert; and/or

               F.      Take any other corrective actions as FDA, in its discretion, deems

necessary to protect the public health or bring Defendants into compliance with this Order, the

Act, or its implementing regulations.

The provisions of this paragraph shall be separate and apart from, and in addition to, all other

remedies available to FDA. Defendants shall pay all costs of recalls and other corrective actions,

including the costs of FDA’s supervision, inspections, investigations, analyses, examinations,

review, travel, and subsistence expenses to implement and monitor recalls and other corrective

actions, at the rates specified in Paragraph 16.

       13.     Upon receipt of any order issued by FDA pursuant to Paragraph 12, Defendants

shall immediately and fully comply with the terms of the order. Any cessation of operations or

other action described in Paragraph 12 shall continue until Defendants receive written

notification from FDA that Defendants appear to be in compliance with this Order, the Act, and

its implementing regulations, and that Defendants may resume operations.

       14.     Representatives of FDA shall be permitted, without prior notice and as and when

FDA deems necessary, to inspect Defendants’ Facility and, without prior notice, take any other

measures necessary to monitor and ensure continuing compliance with the terms of this Order,

the Act, and its implementing regulations. During such inspections, FDA representatives shall

be permitted to: have immediate access to buildings, including but not limited to 303 W. 12th

Street, Atoka, Oklahoma, 74525 and 339 W. 12th Street, Atoka, Oklahoma, 74525, equipment,

raw ingredients, in-process materials, finished products, containers, packaging material, labeling,

and other promotional material therein; take photographs and make video recordings; take




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samples of Defendants’ in-process materials, unfinished and finished products, containers,

packaging material, labeling, and other promotional material; and examine and copy all records

relating to the receiving, manufacturing, preparing, packing, labeling, holding, or distributing of

any and all drugs and their components. The inspections shall be permitted upon presentation of

a copy of this Order and appropriate credentials. The inspection authority granted by this Order

is separate and apart from, and in addition to, the authority to make inspections under the Act,

21 U.S.C. § 374.

       15.     Defendants shall promptly, and no later than ten (10) business days after any FDA

request, provide any information or records to FDA regarding Defendants’ labels, labeling,

promotional materials, websites or social media pages, and any other media over which

Defendants have control, containing representations about the intended use(s) of Defendants’

products; as well as the receipt, manufacture, preparing, packing, repacking, labeling, holding,

and distribution of Defendants’ products, including components.

       16.     Defendants shall reimburse FDA for the costs of supervision, inspection,

investigation, review, examination, and analyses conducted pursuant to this Order or that FDA

deems necessary to evaluate Defendants’ compliance with this Order at the standard rates

prevailing at the time the activities are accomplished. As of the date this Order is entered, these

rates are: $101.00 per hour and fraction thereof per representative for inspection and supervision

work; $121.06 per hour and fraction thereof per representative for laboratory and analytical

work; $0.575 per mile plus tolls for travel expenses for travel by automobile; the government

rate or equivalent for travel by air or other means; and the published government per diem rate

for subsistence expenses, where necessary. In the event that the standard rates generally

applicable to FDA supervision, inspection, review, examination, or analysis are modified, these




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rates shall be increased or decreased without further order of the Court. Defendants shall pay

any such costs within ten (10) business days after being presented with an invoice for such costs

from FDA.

       17.     Within five (5) business days after the entry of this Order, Defendants shall post a

copy of this Order (a) on the homepage of their websites, www.n-ergetics.com and

www.essentialoilsessentialoils.com, and on the homepage of any other website at which

Defendants conduct business and (b) in a common area at Defendants’ Facility and at any other

location at which Defendants conduct business and shall ensure that the Order remains posted for

as long as the Order remains in effect. Within ten (10) business days after entry of this Order,

Defendants shall provide to FDA an affidavit, from a person with personal knowledge of the

facts stated therein, stating the fact and manner of compliance with this paragraph, including but

not limited to the identification of the websites on which the Order was posted.

       18.     Defendants shall notify FDA in writing, at least ten (10) business days before the

creation of a new website (or link or reference, direct or indirect, to another website or other

source) that conveys information about Defendants’ colloidal silver products or any other of

Defendants’ drugs (“new website”). Defendants shall post a copy of this Order on any new

website on the first day it is accessible to consumers. Within ten (10) business days after the

creation of any new website, Defendants shall provide to FDA an affidavit, from a person with

knowledge of the facts stated therein, stating the fact and manner of compliance with this

paragraph.

       19.     Within ten (10) business days after the entry of this Order, Defendants shall hold

a general meeting or series of smaller meetings (to include telephone or video calls) for all

employees at which they shall describe the terms and obligations of this Order. Within fifteen




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(15) business days after the entry of this Order, Defendants shall provide to FDA an affidavit,

from a person with knowledge of the facts stated therein, stating the fact and manner of

compliance with this paragraph and a copy of the agenda, list of attendees, and meeting minutes

from the meeting(s) held pursuant to this paragraph.

       20.     Within ten (10) business days after the entry of this Order, Defendants shall

provide a copy of the Order by personal service, certified mail (restricted delivery, return receipt

requested), or email (delivery and read receipt requested) to each and all of their directors,

officers, agents, representatives, employees, attorneys, successors and assigns, and any and all

persons or entities in active concert or participation with any of them (collectively, “Associated

Person(s)”). Within twenty (20) business days after the date of entry of this Order, Defendants

shall provide to FDA an affidavit stating the fact and manner of their compliance with this

paragraph, identifying the names, addresses, and positions of all persons who have received a

copy of this Order.

       21.     In the event that any Defendant becomes associated with any additional

Associated Person(s) at any time after entry of this Order, Defendants shall, within ten (10)

business days after the commencement of such association, provide a copy of this Order, by

personal service, certified mail (restricted delivery, return receipt requested), or email (delivery

and read receipt requested) to such Associated Person(s), and provide to FDA an affidavit stating

the fact and manner of compliance with this paragraph, identifying the names, addresses, and

positions of all Associated Person(s) who received a copy of this Order pursuant to this

paragraph.

       22.     Defendants shall notify FDA in writing at least fifteen (15) business days before

any change in ownership, name, or character of their business that occurs after entry of this




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Order, including an incorporation, reorganization, creation of a subsidiary, relocation,

dissolution, bankruptcy, assignment, sale, or any other change in the structure or identity of the

company, or the sale or assignment of any business assets, such as buildings, equipment, or

inventory that may affect obligations arising out of this Order. Defendants shall provide a copy

of this Order to any prospective successor or assign at least twenty (20) business days prior to

any sale or assignment. Defendants shall furnish FDA with an affidavit of compliance with this

paragraph no later than ten (10) business days prior to such assignment or change in ownership.

       23.     All notifications, correspondence, and communications to FDA required by the

terms of this Order shall be prominently marked “Permanent Injunction Correspondence” and

reference this civil action by case name and civil action number, and shall be sent by electronic

mail to ORAPHARM2_RESPONSES@fda.hhs.gov and/or hard copy to Director, Compliance

Branch, Office of Pharmaceutical Quality Operations, Division II, Office of Regulatory Affairs,

Food and Drug Administration, 4040 North Central Expressway, Suite 300, Mail Code HFR-

SW100, Dallas, Texas 75204.

       24.     All deadlines in this Order may be extended or shortened by mutual consent of

FDA and Defendants in writing, without leave of Court.

       25.     Should the United States bring and prevail in a contempt action to enforce the

terms of this Order, Defendants shall, in addition to other remedies, reimburse the United States

for its attorneys’ fees (including overhead), investigational and analytical expenses, expert

witness fees, and court costs relating to such contempt proceedings.

       26.     Defendants shall abide by the decisions of FDA, and FDA’s decisions shall be

final. All decisions conferred upon FDA in this Order shall be vested in FDA’s discretion and, if

contested, shall be reviewed by this Court under the arbitrary and capricious standard set forth in




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5 U.S.C. § 706(2)(A). Review by the Court of any FDA decision rendered pursuant to this Order

shall be based exclusively on the written record before FDA at the time the decision was made.

No discovery shall be taken by either party.

       27.     This Court retains jurisdiction over this action and the parties thereto for the

purpose of enforcing and modifying this Order and for the purpose of granting such additional

relief as may be necessary or appropriate.



       DONE AND ORDERED in chambers in Muskogee, Oklahoma, this

       29th day of October, 2020.




                                                      ____________________________________
                                                      RONALD A. WHITE
                                                      UNITED STATES DISTRICT JUDGE




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